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   6
     Attorneys for Defendants, OFFICER R.
   7 MARTINEZ, an individual and Officer of
     the Azusa Police Department, CITY OF
   8 AZUSA, a public entity
   9                               UNITED STATES DISTRICT COURT
 10              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 11
 12 JOSEPH F. INIGUEZ,                               Case No. 2:22-cv-00106 MCS (GJSx)
                                                     [District Judge: Mark C. Scarsi;
 13                       Plaintiff,                 Magistrate: Gail J. Standish]
 14              v.
                                                     JOINT STIPULATION FOR STAY
 15 OFFICER R. MARTINEZ, an                          OF PROCEEDINGS PENDING
    individual and Officer of the Azusa              COMPLETION OF DEPARTMENT
 16 Police Department; CITY OF AZUSA,                OF JUSTICE INVESTIGATION;
    a public entity; and DOES 1 to 20,               PROPOSED ORDER
 17
                  Defendants.
 18
                                                     Complaint Filed: 01/06/22
 19                                                  FAC Filed:       01/12/22
                                                     Trial Date:      N/A
 20
 21 TO THE HONORABLE COURT:
 22             Plaintiff, JOSEPH F. INIGUEZ, ("Plaintiff") and defendants, the CITY OF
 23 AZUSA and OFFICER R. MARTINEZ, ("Defendants") hereby stipulate for the
 24 purpose of jointly requesting the honorable Court to vacate all currently scheduled
 25 dates, deadlines and proceedings and stay this case pending the resolution of the
 26 Department of Justice's ("DOJ") criminal investigation of plaintiff.
 27 ///
 28 ///
       4893-3191-6825.1
                      JT STIP FOR STAY OF PROCEEDINGS PENDING COMPLETION OF DOJ INV
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   1                                   GOOD CAUSE STATEMENT
   2            1.        Plaintiff filed the complaint on January 12, 2022 [Dkt. 10].
   3            2.        Defendant filed its answer to plaintiff's operative complaint on February
   4 16, 2022 [Dkt. 11].
   5            3.        On February 16, 2022, the Court ordered a Scheduling Conference to
   6 take place on April 11, 2022 [Dkt. 13].
   7            4.        On March 17, 2022, the parties met and conferred via a telephonic
   8 conference to discuss the current status of this matter. Specifically, counsel for both
   9 parties discussed a pending criminal investigation by the California Department of
 10 Justice ("DOJ") with respect to plaintiff from the same set of facts in this case.
 11 Counsel discussed the implications of potential Fifth Amendment issues the criminal
 12 investigation of plaintiff would create in relation to this civil matter.
 13             5.        On information and belief, the DOJ criminal investigation remains
 14 ongoing.
 15             6.        To date, no discovery in this case has taken place.
 16             7.        On information and belief, the factual issues to be decided in the instant
 17 civil action arise from the same set of facts that the DOJ is investigating.
 18             8.        A court may decide in its discretion to stay civil proceedings when "the
 19 interests of justice seem to require such action." See Keating v. Office of Thrift
 20 Supervision, 45 F.3d 322, 324 (9th Cir. 1995) (quoting United States v. Kordel, 397
 21 U.S. 1, 12 (1970)). "The decision whether to stay civil proceedings in the face of a
 22 parallel criminal proceeding should be made 'in light of the particular circumstances
 23 and competing interests involved in the case.'" Id.
 24             9.        Requiring the parties to participate in civil discovery could potentially
 25 unfairly prejudice them while an investigation is ongoing that could result in criminal
 26 consequences.
 27             10.       Moreover, at this juncture, both the parties have been prevented from
 28 conducting any discovery in this case, which would severely prejudice both parties if
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   1 they were required to go forward according to the Court's current schedule.
   2            11.       Additionally, neither party will be unfairly prejudiced by a stay in the
   3 case.
   4                 STIPULATION TO STAY ALL FURTHER PROCEEDINGS
   5            12.       Accordingly, in light of the foregoing Good Cause, the parties hereby
   6 stipulate to and jointly request that the Court enter an order to vacate all previously
   7 ordered deadlines and proceedings in this matter. The parties further stipulate to and
   8 jointly request that the Court enter an order to stay all further proceedings in this
   9 matter – including all non-expert and expert discovery, discovery and dispositive
 10 motions, and trial of the civil matter – for at least 120 days or until the aforementioned
 11 criminal investigation by the DOJ has been completed, whichever occurs first.
 12             13.       The parties hereby stipulate to and jointly request that the Court issue an
 13 order that, at the expiration of 120 days from the entry of the order vacating the current
 14 dates and staying the instant case, the parties shall jointly issue a report to the Court
 15 on the status of the DOJ investigation. If the investigation is still ongoing at that time,
 16 the Court shall continue the stay, until such time as the investigation is completed.
 17 The parties shall file status reports to the Court every 120 days until such time as the
 18 investigation is completed.
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   1            IT IS SO STIPULATED.
   2 DATED: March 28, 2022                    MANNING & KASS
                                              ELLROD, RAMIREZ, TRESTER LLP
   3
   4                                          By:          /s/ Mildred K. O'Linn
                                                    Mildred K. O'Linn
   5
                                                    Garros Chan
   6                                                Attorneys for Defendants,
                                                    OFFICER R. MARTINEZ, an individual
   7
                                                    and Officer of the Azusa Police
   8                                                Department, CITY OF AZUSA, a public
   9                                                entity

 10 DATED: March 28, 2022                     MICHAEL H. ARTAN, LAWYER, APC
                                              JONAS & DRISCOLL LLP
 11
 12                                           By:         /s/ Michael H. Artan
                                                    Glen T. Jonas
 13
                                                    Michael H. Artan
 14                                                 Attorneys for Plaintiff,
                                                    JOSEPH F. INIGUEZ
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